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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                              NORFOLK DIVISION

WAYNE B. LYNCH, Administrator of the
Estate of DONOVAN W. LYNCH,
Deceased

         Plaintiff,
                                                          Civil Action No. 2:21-cv-341
v.

SOLOMON D. SIMMONS, III

and

CITY OF VIRGINIA BEACH

         Defendants.

             DEFENDANT CITY OF VIRGINIA BEACH’S MOTION TO DISMISS

        NOW COMES Defendant City of Virginia Beach (“City”), by counsel, and hereby files its

Motion to Dismiss Plaintiff’s claims against the City, pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure, on the grounds that the Complaint fails to state a claim against the City upon

which relief can be granted. The reasons and grounds supporting this Motion are more specifically

set forth in the accompanying Memorandum of Law.

        WHEREFORE, Defendant City of Virginia Beach respectfully moves this Court to enter an

Order granting this Motion and dismissing with prejudice Plaintiff’s claims against the City and for

such other and further relief as the Court deems appropriate.




                                                  Respectfully submitted,

                                                  CITY OF VIRGINIA BEACH

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of July 2021, I will electronically file the foregoing
with the Clerk of the Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:

  Joshua J. Coe, Esq.
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                                                     /s/
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